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-vs- Case No. 2:05cr20249-001B

JUAN DELABRA

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsell Accordingly,
the Court makes the following appointment pursuant to the Crirninal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
~ The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

' All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, TN, this 315‘ day of August, 2005.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
lntake

J'UAN DELABRA

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Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:05-CR-20249 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

 

PDA

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l\/lemphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

